Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF LOUISIANA

Case number (if known)                                                      Chapter      11
                                                                                                                             Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                American Screening, LLC

2.   All other names debtor
     used in the last 8 years
                                  DBA American Screening Corporation
     Include any assumed          DBA ASC
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  9742 Saint Vincent Ave., Suite 100
                                  Shreveport, LA 71106
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Caddo                                                           Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.americanscreeningcorp.com


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                     Partnership (excluding LLP)
                                     Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                    23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 1 of 74
Debtor    American Screening, LLC                                                                      Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                          Chapter 7
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                              The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                A plan is being filed with this petition.
                                                                Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy              No.
     cases filed by or against
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
                    23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 2 of 74
Debtor    American Screening, LLC                                                                       Case number (if known)
          Name

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor                                                                   Relationship
                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                        No
                                                  Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal           Yes.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes.       Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .        Check one:
    available funds
                                                 Funds will be available for distribution to unsecured creditors.
                                                 After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                                25,001-50,000
    creditors
                                        50-99                                          5001-10,000                                50,001-100,000
                                        100-199                                        10,001-25,000                              More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities               $0 - $50,000                                   $1,000,001 - $10 million                   $500,000,001 - $1 billion

Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                    23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 3 of 74
Debtor   American Screening, LLC                                                      Case number (if known)
         Name

                              $50,001 - $100,000                       $10,000,001 - $50   million            $1,000,000,001 - $10 billion
                              $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                              $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




Official Form 201                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 4
                    23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 4 of 74
Debtor    American Screening, LLC                                                                  Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      April 7, 2023
                                                  MM / DD / YYYY


                             X   /s/ Ronald Kilgarlin, Jr.                                                Ronald Kilgarlin, Jr.
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Managing Member




18. Signature of attorney    X   /s/ Kell C. Mercer                                                        Date April 7, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Kell C. Mercer
                                 Printed name

                                 Kell C. Mercer, P.C.
                                 Firm name

                                 901 S Mopac Expy Bldg 1 Ste 300
                                 Austin, TX 78746
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (512) 627-3512                Email address      kell.mercer@mercer-law-pc.com

                                 Tex. Bar No. 24007668
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
                    23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 5 of 74
DocuSign Envelope ID: C626FCA1-2CB2-454C-8F15-5AF24721609B




                                 UNANAMOUS WRITTEN CONSENT RESOLUTIONS
                                       OF SOLE MANAGING MEMBER

                                                                   of

                                               AMERICAN SCREENING, LLC

                                                             March 23, 2023

                    In lieu of a meeting, the below signed sole Managing Member, Ronald Kilgarlin, Jr., of
            American Screening, LLC (the “Company”) does hereby approve and adopt the following consent
            resolutions:

            RESOLVED, that in the judgment of the Managing Member, it is desirable and in the best interests
            of the Company, its creditors, members and other interested parties, that the Company be
            authorized and empowered to file, at such time as it is deemed necessary by the appropriate officer
            of the Company, a petition for relief (the “Petition”) under Chapter 11 of Title 11 of the United
            States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for the Western
            District of Louisiana, Shreveport Division (the “Bankruptcy Court”); and it is further

            RESOLVED, that Ronald Kilgarlin, Jr., the Managing Member, is hereby authorized, directed
            and empowered, on behalf of and in the name of the Company, (i) to execute and verify the Petition
            and cause the Petition to be filed with the Bankruptcy Court and (ii) to perform any and all such
            acts as are reasonable, advisable, expedient, convenient, proper and necessary to effect any of the
            foregoing; and it is further

            RESOLVED, that Ronald Kilgarlin, Jr., the Managing Member, is authorized, directed and
            empowered, on behalf of and in the name of the Company, to execute, verify and file or cause to
            be filed all other reasonable and customary applications, schedules, lists, motions and other papers
            and documents; and it is further

            RESOLVED, that Ronald Kilgarlin, Jr., the Managing Member, is hereby authorized, directed
            and empowered to open any new bank accounts, as needed, to be designated as "Debtor-in-
            Possession" bank accounts pursuant to the filing of the petition under Chapter 11 of the Bankruptcy
            Code, and to include Shuler Page, Manager as the signing party on such accounts, as representative
            of the Company; and it is further

            RESOLVED, that Ronald Kilgarlin, Jr., the Managing Member, has previously been authorized,
            directed and empowered to retain on behalf of the Company, Kell C. Mercer and the law firm of
            Kell C. Mercer, P.C. as bankruptcy counsel, to represent the Company in the aforesaid Chapter 11
            bankruptcy case and all other related matters in connection therewith and such other terms and
            conditions as the officers shall deem advisable. That decision is hereby memorialized and ratified;
            and it is further

            RESOLVED, that Ronald Kilgarlin, Jr., the Managing Member, is authorized and empowered,
            for and on behalf of the Company, to execute and file all such instruments and documents, to make



                                                                   1

               23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 6 of 74
DocuSign Envelope ID: C626FCA1-2CB2-454C-8F15-5AF24721609B




            all payments, to enter into all agreements and to do or cause to be done all acts and things that may
            be necessary or appropriate to carry out the purposes of the foregoing resolutions.

            Dated this March 23, 2023



            ________________________
            Ronald Kilgarlin, Jr.
            Managing Member of American Screening, LLC




                                                             2

               23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 7 of 74
 Fill in this information to identify the case:

 Debtor name         American Screening, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF LOUISIANA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                           12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                 Schedule H: Codebtors (Official Form 206H)

                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          April 7, 2023                           X /s/ Ronald Kilgarlin, Jr.
                                                                       Signature of individual signing on behalf of debtor

                                                                       Ronald Kilgarlin, Jr.
                                                                       Printed name

                                                                       Managing Member
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy




                 23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 8 of 74
 Fill in this information to identify the case:
 Debtor name American Screening, LLC
 United States Bankruptcy Court for the: WESTERN DISTRICT OF                                                                                      Check if this is an
                                                LOUISIANA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Federal Trade                                                   Judgment in       Contingent                                                                       $14,651,185.42
 Commission                                                      Lawsuit (See Sofa Unliquidated
 600 Pennsylvania                                                Question 7)       Disputed
 Avenue, NW
 Washington, DC
 20580
 Azure Biotech Inc                                                                                                                                                    $2,097,790.17
 (1AZUBIO)
 Azure Biotech Inc.
 10400 Main Street
 Houston, TX 77025
 American Express                                                                                                                                                       $422,750.71
 PO Box 6031
 Carol Stream, IL
 60197-6031
 CIT Bank                                                                                                                                                               $204,199.00
 a Division of
 First-Citizens B&T
 10201 Centurion
 Pkwy N, Ste 100
 32256
 Phase Scientific                                                                                                                                                       $146,973.80
 10527 Garden Grove
 Boulevard
 Garden Grove, CA
 92843
 FEDEX FRT                                                                                                                                                              $103,859.31
 Dept Ch Box 10306
 Palatine, IL
 60055-0306
 Chase Bank                                                      Credit Card -                                                                                            $62,769.13
 c/o Cardmember                                                  Corporate
 Service
 P.O. Box 15123
 Wilmington, DE
 19850-5123



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy




                      23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 9 of 74
 Debtor    American Screening, LLC                                                                            Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 MICROGENICS                                                                                                                                                              $56,825.41
 CORP (2THEFIS)
 Bank of America
 7055 Collections
 Center Dr
 Chicago, IL 60693
 VERSEA Holdings,                                                See SOFA               Contingent                                                                        $44,650.59
 Inc.                                                            Question No. 7         Disputed
 c/o Joshua P.
 Cittadino, Esq.
 Sanvernero &
 Cittadino
 228 Maple Ave
 Red Bank, NJ 07701
 Chase Bank                                                      Land Rover -                                       $162,479.00               $124,000.00                 $38,479.00
 PO Box 94014                                                    Range Rover
 Palatine, IL 60094
 Abbott                                                                                                                                                                   $36,288.47
 Toxicology(2ALETO
 X)
 PO BOX 734598
 Chicago, IL
 60673-4598
 HiTech                                                                                                                                                                   $36,187.50
 316 E. Georgia Ave
 Ruston, LA 71270
 ACON LABS                                                                                                                                                                $33,944.83
 (2ACOLAB)
 10125 MESA RIM
 ROAD
 SAN DIEGO, CA
 92121
 STAFFMARK                                                                                                                                                                $28,068.16
 INVESTMENT LLC
 PO BOX 734575
 Chicago, IL
 60673-4575
 CTS GLOBAL                                                                                                                                                               $23,798.54
 SUPPLY CHAIN
 6920 BRASADA DR
 STE 200
 Houston, TX 77085
 BioMed                                                                                                                                                                   $22,223.50
 Resource(1BIORES)
 6646 Doolittle Ave
 Riverside, CA 92503
 W.H.P.M. (2WHPINC)                                                                                                                                                       $22,114.10
 5358 Irwindale Ave
 Irwindale, CA 91706




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy




                    23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 10 of 74
 Debtor    American Screening, LLC                                                                            Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 MEDLINE                                                                                                                                                                  $20,027.77
 INDUSTRIES(2MEDI
 ND)
 One Medline Place
 Mundelein, IL 60060
 BSI GROUP                                                                                                                                                                $18,950.00
 AMERICA
 (3BSIGRO)
 DEPT CH 19307
 Palatine, IL 60055
 ORASURE                                                                                                                                                                  $12,750.06
 TECH(2ORATEC)
 PO BOX 780518
 Philadelphia, PA
 19178-0518




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy




                    23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 11 of 74
 Fill in this information to identify the case:

 Debtor name            American Screening, LLC

 United States Bankruptcy Court for the:                       WESTERN DISTRICT OF LOUISIANA

 Case number (if known)
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $        9,100,921.93

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $        9,100,921.93


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $        6,665,083.61


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$      20,586,715.95


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $        27,251,799.56




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                                                                           Best Case Bankruptcy



                 23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 12 of 74
 Fill in this information to identify the case:

 Debtor name         American Screening, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF LOUISIANA

 Case number (if known)
                                                                                                                              Check if this is an
                                                                                                                                    amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                    12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                Current value of
                                                                                                                                    debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                         Last 4 digits of account
                                                                                                         number


            3.1.   Chase Bank                                               Checking                     2243                                 $611,365.63




            3.2.   Chase Bank                                               Checking                     6447                               $1,394,774.10




            3.3.   Iberia Bank                                              First Horizon                8279                                  $25,071.00




            3.4.   First Horizon                                            Checking                     8287                                        $116.33




            3.5.   Iberia Bank                                              Checking                     8295                                        $115.08




            3.6.   Chase Bank                                               Savings                      7571                                           $0.00




            3.7.   Chase Bank                                               Savings                      7365                                           $0.00

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                         page 1
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy



               23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 13 of 74
 Debtor            American Screening, LLC                                                        Case number (If known)
                   Name




            3.8.     Chase Bank                                              Checking                           7233                                 $0.00



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                          $2,031,442.14
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No.   Go to Part 3.
       Yes Fill in the information below.

 Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.
 11.        Accounts receivable
            11a. 90 days old or less:                           508,674.85   -                                   0.00 = ....                $508,674.85
                                              face amount                           doubtful or uncollectible accounts




            11b. Over 90 days old:                              622,124.80   -                          223,240.50 =....                    $398,884.30
                                              face amount                           doubtful or uncollectible accounts



 12.        Total of Part 3.                                                                                                            $907,559.15
            Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:           Investments
13. Does the debtor own any investments?

       No.   Go to Part 5.
       Yes Fill in the information below.

 Part 5:           Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

       No. Go to Part 6.
       Yes Fill in the information below.
            General description                       Date of the last           Net book value of         Valuation method used   Current value of
                                                      physical inventory         debtor's interest         for current value       debtor's interest
                                                                                 (Where available)

 19.        Raw materials

 20.        Work in progress

 21.        Finished goods, including goods held for resale



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 2
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy



               23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 14 of 74
 Debtor         American Screening, LLC                                                          Case number (If known)
                Name

           Inventory (drug testing
           cups, saliva tests, dip
           testing kits, testing
           collection items)                          December 2022                     $3,175,120.02                                  $3,175,120.02


           Prohibited Sale Items                                                           Unknown                                          Unknown



 22.       Other inventory or supplies

 23.       Total of Part 5.                                                                                                        $3,175,120.02
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
            No
            Yes
 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
            No
            Yes. Book value                                         Valuation method                        Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
            No
            Yes
 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No.    Go to Part 8.
     Yes Fill in the information below.
           General description                                                   Net book value of      Valuation method used   Current value of
                                                                                 debtor's interest      for current value       debtor's interest
                                                                                 (Where available)

 39.       Office furniture
           Office Furniture and Warehouse Racks                                           $49,800.00                                      $39,840.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Software Asset (drug testing)                                                   Unknown                                          Unknown


           Furniture, Fixtures, Equipment                                                 $300,945.66                                    $300,945.66


           Reveal Check Software                                                          $30,000.00                                      $30,000.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 3
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy



               23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 15 of 74
 Debtor         American Screening, LLC                                                       Case number (If known)
                Name

 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                          $370,785.66
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
            No
            Yes
 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
            No
            Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No.    Go to Part 9.
     Yes Fill in the information below.
           General description                                                Net book value of      Valuation method used   Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     Land Rover - Range Rover 2023 - VIN
                     SALK1BE74PA022247                                               $155,000.00                                      $124,000.00


           47.2.     Mercedes GLS 450 2022 - VIN
                     4JGFF5KE6NA654691                                                $77,679.00                                       $62,143.00



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)

 51.       Total of Part 8.                                                                                                       $186,143.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
            No
            Yes
 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
            No
            Yes
 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No.    Go to Part 10.
     Yes Fill in the information below.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 4
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                  Best Case Bankruptcy



               23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 16 of 74
 Debtor         American Screening, LLC                                                       Case number (If known)
                Name



 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No.    Go to Part 11.
     Yes Fill in the information below.
            General description                                               Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            Trademarks:
            ASC - Serial Number 88729320 / Registration
            Number 6242834
            AMERICANSCREENING - Serial Number
            88729706
            American Screening Corporation - Serial
            Number 77443673 / Registration Number
            3596800
            SALIVASCAN - Serial Number 88159237 /
            Registration Number 5823398
            ORALSCAN - Serial Number 88159246 /
            Registration Number 5823399
            PRECISION DX - Serial Number 87738447 /
            Registration Number 5704592
            DISCOVER - Serial Numbers 87590201 &
            86102161 / Registration Numbers 5490299 &
            5105338
            SWABSCAN - Serial Number 87590183 /
            Registration Number 5493892
            NETSCAN - Serial Number 87590206 /
            Registration Number 5433300
            TRUCHEK - Serial Numbers 86102184 &
            860102184 / Registration Numbers 4709107 &
            4611119
            GATOR DUST - Serial Number 86364704 /
            Registration Number 5082663
            REVEAL-MINI - Serial Number 85740378 /
            Registration Number 4441278
            ONESCREEN - Serial Number 77176041 /
            Registration Number 3509429
            REVEAL DX - Serial Number 87444651
            QUICKSCAN - Serial Number 87383126                                         Unknown                                           Unknown



 61.        Internet domain names and websites
            americanscreeningcorp.com                                                  Unknown                                           Unknown


            See attached Schedule 61                                                   Unknown                                           Unknown



 62.        Licenses, franchises, and royalties




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 5
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                  Best Case Bankruptcy



               23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 17 of 74
 Debtor         American Screening, LLC                                                       Case number (If known)
                Name

            MDSAP (Medical Device Single Audit
            Program)/ISO (International Standards
            Organization Registration) (certification from
            Intertek) No 13485:2016
            Health Canada (License No. 101872, 101874,
            102996
            Cofepris (Health Register No. 1581R2021 SSA)
            Centers for Medicare and Medicaid Services
            (CMS) (CLIA ID No. 19D2242697)
            Louisiana Board of Drug and Device
            Distributors (License No. 9672)
            General Services Administration (GSA)
            Advantage Contract No. GS-07F-0008W                                        Unknown       N/A                                Unknown



 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                              $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
             No
             Yes
 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
             No
             Yes
 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
             No
             Yes
 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No.    Go to Part 12.
     Yes Fill in the information below.
                                                                                                                           Current value of
                                                                                                                           debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)
            KKB Partners, LLC, Krazyhouse, LLC, Petal Trading
            Company, Inc., Fernando Campos, Michael R. Lauter
            and Peter S. Spenser                                                                                                     $142,755.00
            Nature of claim        Business Tort Claims
            Amount requested                    $142,755.00

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 6
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                 Best Case Bankruptcy



               23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 18 of 74
 Debtor         American Screening, LLC                                                       Case number (If known)
                Name



           Yiwu Jiahong Trading Co., Ltd - $1,275,000
           Luminostics, Inc. d/b/a Clip Health and Tim Fitzpatrick -
           $55,875
           Safecare - $612,890
           LeoPont - $10,000
           Global Canabanoids - $141,523.20
           Global Protective Equipment - $75,631
           Joel Howard d/b/a Employment Screening Management
           - $35,852.22                                                                                                 $2,206,771.42
           Nature of claim          Commercial Claims
           Amount requested                      $2,206,771.42


           AOSS Medical Supply, LLC ( Pending in Fourth Judicial
           District Court, Monroe, Louisiana) C-10201336 (See
           SOFA Question No. 7)                                                                                             $80,345.54
           Nature of claim          Commercial Claims
           Amount requested                        $80,345.54



 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

 78.       Total of Part 11.                                                                                           $2,429,871.96
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                     page 7
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                       Best Case Bankruptcy



               23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 19 of 74
 Debtor          American Screening, LLC                                                                             Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                        $2,031,442.14

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $907,559.15

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                           $3,175,120.02

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                        $370,785.66

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $186,143.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.

 90. All other assets. Copy line 78, Part 11.                                                    +              $2,429,871.96

 91. Total. Add lines 80 through 90 for each column                                                         $9,100,921.93            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $9,100,921.93




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 8
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                                                  Best Case Bankruptcy



                 23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 20 of 74
                                       Schedule 61

Domain Name
alldrugstest.com
americandrugscreening.biz
americandrugscreening.info
americandrugscreening.mobi
americandrugscreening.net
americandrugscreening.org
americandrugscreening.us
americandrugstest.com
americanscreening.net
americanscreeningcorp.biz
americanscreeningcorp.com
americanscreeningcorp.info
americanscreeningcorp.net
ascbackgroundchecks.com
ascdiagnostics.com
ascdrugtest.com
ascmkt.com
asconepay.com
biostatlab.com
biostatlab.net
biostatlab.us
biostatlaboratories.com
biostatlaboratories.info
biostatlaboratories.net
biostatlaboratories.org
biostatlaboratories.us
biostatlaboratory.com
biostatlaboratory.us
biostatlabs.com
biostatlabs.net
biostatmarketinggroup.com
biostatslab.net
biostatusa.com
biostatusa.us
buygatordust.com
discoverdrugtest.com
gatorseason.com
gatorseasoning.com
hairchek.com
onescreencup.com
onescreencup.net
onescreendip.com
onescreendip.net
onescreendrugtest.com
onescreendrugtest.net
onescreendrugtests.net



     23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 21 of 74
Domain Name
precisedrugscreen.com
precisedrugscreens.com
precisiondrugtest.com
revealdrugtest.com
revealhomechek.com
testhealthynews.com
theamericandrugscreening.com
theamericanscreening.net
theamericanscreeningcorp.com
theonescreendrugtest.net
transmeddrugtest.com
truchekdrugtest.com
waivedtest.com




     23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 22 of 74
 Fill in this information to identify the case:

 Debtor name          American Screening, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF LOUISIANA

 Case number (if known)
                                                                                                                                            Check if this is an
                                                                                                                                             amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                    12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                   Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                               that supports this
                                                                                                                   Do not deduct the value     claim
                                                                                                                   of collateral.
 2.1    Ally Financial                                Describe debtor's property that is subject to a lien                  $54,292.96                $62,143.00
        Creditor's Name                               Mercedes GLS 450
        P.O. Box 380902
        Minneapolis, MN
        55438-0902
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



 2.2    Chase Bank                                    Describe debtor's property that is subject to a lien                $162,479.00               $124,000.00
        Creditor's Name                               Land Rover - Range Rover
        PO Box 94014
        Palatine, IL 60094
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 3
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy



                23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 23 of 74
 Debtor       American Screening, LLC                                                                 Case number (if known)
              Name

        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.




 2.3
       First Horizon Commercial
       Lending                                        Describe debtor's property that is subject to a lien                 $1,057,404.79
       Creditor's Name                                Inventory, equipment, accounts, deposit
                                                      accounts, investment property, money, other
                                                      rights to payment and performance, and
                                                      general intangables, fixtures, attachments,
                                                      accessions, accessories, fittings, products
       320 Texas Street                               and proceeds
       Shreveport, LA 71101
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       May 6, 2021                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       1481
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.



       First Horizon Commercial
 2.4                                                                                                                       $5,240,906.86
       Lending                                        Describe debtor's property that is subject to a lien
       Creditor's Name                                Inventory, equipment, accounts, deposit
                                                      accounts, investment property, money, other
       320 Texas Street
       Shreveport, LA 71101
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
       May 6, 2021                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       1478
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.




 2.5
       US Small Business
       Administration                                 Describe debtor's property that is subject to a lien                     $150,000.00         $0.00
       Creditor's Name


       409 3rd Street SW
       Washington, DC 20416
Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 2 of 3
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy



               23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 24 of 74
 Debtor       American Screening, LLC                                                                 Case number (if known)
              Name

       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known              Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.




                                                                                                                          $6,665,083.61
 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.


 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 3 of 3
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy



               23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 25 of 74
 Fill in this information to identify the case:

 Debtor name         American Screening, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF LOUISIANA

 Case number (if known)
                                                                                                                                               Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:
           Caddo Parish Louisiana                                    Check all that apply.
           505 Travis Street, Suite 800                               Contingent
           Shreveport, LA 71101                                       Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Notice Only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:
           Internal Revenue Service                                  Check all that apply.
           P.O. Box 7346                                              Contingent
           Philadelphia, PA 19101-7346                                Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Notice Only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 12
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                   53388                               Best Case Bankruptcy



                23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 26 of 74
 Debtor       American Screening, LLC                                                                         Case number (if known)
              Name

 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:
           Louisiana Dep't of Revenue                                Check all that apply.
           617 N 3d Street                                            Contingent
           Baton Rouge, LA 70802                                      Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Notice Only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.         $36,288.47
           Abbott Toxicology(2ALETOX)                                               Contingent
           PO BOX 734598                                                            Unliquidated
           Chicago, IL 60673-4598                                                   Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number      2804
                                                                                   Is the claim subject to offset?    No  Yes
 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.         $33,944.83
           ACON LABS (2ACOLAB)                                                      Contingent
           10125 MESA RIM ROAD                                                      Unliquidated
           SAN DIEGO, CA 92121                                                      Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number      1011
                                                                                   Is the claim subject to offset?    No  Yes
 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.           $1,079.50
           ADVANCED COMPUTER(3ADVCOM)                                               Contingent
           1333 College Pkwy #111                                                   Unliquidated
           Gulf Breeze, FL 32563                                                    Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number      1015
                                                                                   Is the claim subject to offset?    No  Yes
 3.4       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.         $11,590.77
           AFS Logistics (3AFSOL)                                                   Contingent
           PO Box 18170                                                             Unliquidated
           Shreveport, LA 71138                                                     Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number      0154
                                                                                   Is the claim subject to offset?    No  Yes
 3.5       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.           $4,365.00
           AI Holdings Group, Inc                                                   Contingent
           245 N Highland Ave NE STE 230-186                                        Unliquidated
           ATLANTA, GA 30307                                                        Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number      0121
                                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 2 of 12
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy



               23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 27 of 74
 Debtor       American Screening, LLC                                                                 Case number (if known)
              Name

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,080.00
          ALG HEALTH                                                          Contingent
          520 WEST MULBERRY STREET                                            Unliquidated
          Bryan, OH 43506                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0025
                                                                             Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,949.22
          Alltests North America                                              Contingent
          15A Melanie Lane Unit 6                                             Unliquidated
          East Hanover, NJ 07936                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1035
                                                                             Is the claim subject to offset?    No  Yes
 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $148.50
          Altus Receivables Management (3ALTGLO)                              Contingent
          2121 Airline Drive                                                  Unliquidated
          Suite 520                                                           Disputed
          Metairie, LA 70001
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       1036                         Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $422,750.71
          American Express                                                    Contingent
          PO Box 6031                                                         Unliquidated
          Carol Stream, IL 60197-6031                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1046
                                                                             Is the claim subject to offset?    No  Yes
 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          AOSS Medical Supply, LLC                                            Contingent
          4971 Central Avenue
          Monroe, LA 71203
                                                                              Unliquidated
          Date(s) debt was incurred
                                                                              Disputed
          Last 4 digits of account number                                    Basis for the claim:    Litigation - See SOFA Question No. 7
                                                                             Is the claim subject to offset?    No     Yes
 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,000.00
          APPTOLOGY                                                           Contingent
          2135 Top Court                                                      Unliquidated
          Folsom, CA 95630                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3307
                                                                             Is the claim subject to offset?    No  Yes
 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,513.01
          ArcBest (2ARCBST)                                                   Contingent
          PO BOX 19087                                                        Unliquidated
          Shreveport, LA 71149                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0057
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 3 of 12
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy



               23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 28 of 74
 Debtor       American Screening, LLC                                                                 Case number (if known)
              Name

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $39.00
          ATT WIRELESS (3ATTWIR)                                              Contingent
          PO Box 6463                                                         Unliquidated
          CAROL STREAM, IL 60197-6463                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1071
                                                                             Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $2,097,790.17
          Azure Biotech Inc (1AZUBIO)                                         Contingent
          Azure Biotech Inc.                                                  Unliquidated
          10400 Main Street                                                   Disputed
          Houston, TX 77025
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       2642                         Is the claim subject to offset?    No  Yes
 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $352.86
          Binxhealth (2Binhea)                                                Contingent
          77 N Washington St f5,                                              Unliquidated
          Boston, MA 02114                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0146
                                                                             Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $22,223.50
          BioMed Resource(1BIORES)                                            Contingent
          6646 Doolittle Ave                                                  Unliquidated
          Riverside, CA 92503                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2832
                                                                             Is the claim subject to offset?    No  Yes
 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,914.00
          Boxes for Less (2BOXLES)                                            Contingent
          P.O. Box 11020                                                      Unliquidated
          Fort Smith, AR 72917                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2861
                                                                             Is the claim subject to offset?    No  Yes
 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $18,950.00
          BSI GROUP AMERICA (3BSIGRO)                                         Contingent
          DEPT CH 19307                                                       Unliquidated
          Palatine, IL 60055                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1123
                                                                             Is the claim subject to offset?    No  Yes
 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,595.00
          CFO ProSolutions                                                    Contingent
          405 Ashley Ridge Blvd.                                              Unliquidated
          Shreveport, LA 71106                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0120
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 4 of 12
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy



               23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 29 of 74
 Debtor       American Screening, LLC                                                                 Case number (if known)
              Name

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $422.50
          Chair 6 Data (3CHAIR6)                                              Contingent
          PO Box 65237                                                        Unliquidated
          Shreveport, LA 71136                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2674
                                                                             Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $62,769.13
          Chase Bank                                                          Contingent
          c/o Cardmember Service                                              Unliquidated
          P.O. Box 15123                                                      Disputed
          Wilmington, DE 19850-5123
                                                                             Basis for the claim:    Credit Card - Corporate
          Date(s) debt was incurred Various
          Last 4 digits of account number 5693                               Is the claim subject to offset?    No  Yes
 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $204,199.00
          CIT Bank                                                            Contingent
          a Division of First-Citizens B&T                                    Unliquidated
          10201 Centurion Pkwy N, Ste 100                                     Disputed
          32256
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $29.00
          Clarity Diagnostics (2ClaDia)                                       Contingent
          1060 Holland Drive                                                  Unliquidated
          Boca Raton, FL 33487                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0152
                                                                             Is the claim subject to offset?    No  Yes
 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,895.50
          COOK, YANCEY, KING & GALLOWAY
          (3COOGAL)                                                           Contingent
          333 TEXAS ST                                                        Unliquidated
          STE 1700                                                            Disputed
          Shreveport, LA 71120
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       2848                         Is the claim subject to offset?    No  Yes
 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $157.85
          CRIMINAL RESEARCH & INVESTIGATION                                   Contingent
          15614 Dr MLK Jr Blvd                                                Unliquidated
          Dover, FL 33527                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2938
                                                                             Is the claim subject to offset?    No  Yes
 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $23,798.54
          CTS GLOBAL SUPPLY CHAIN                                             Contingent
          6920 BRASADA DR STE 200                                             Unliquidated
          Houston, TX 77085                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0059
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 5 of 12
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy



               23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 30 of 74
 Debtor       American Screening, LLC                                                                 Case number (if known)
              Name

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $8,400.00
          DeRosa Mangold (3DERMAN)                                            Contingent
          200 W Hwy 6, Ste 310                                                Unliquidated
          Waco, TX 76712                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1238
                                                                             Is the claim subject to offset?    No  Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $10,843.00
          EC REP Healthcare Educ. (3ECREPH)                                   Contingent
          The Church Portland Street                                          Unliquidated
          Southport, UK PR8 1HU                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1269
                                                                             Is the claim subject to offset?    No  Yes
 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         Unknown
          EEOC
          c/o Elizabeth J. Owen                                               Contingent
          New Orleans Field Office                                            Unliquidated
          500 Poydras Street, Suite 809                                       Disputed
          New Orleans, LA 70130
                                                                             Basis for the claim:    See Sofa Question No. 7
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,650.00
          EFFECTIVE SOLUTIONS                                                 Contingent
          13160 W BURLEIGH ROAD                                               Unliquidated
          Brookfield, WI 53005                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1300
                                                                             Is the claim subject to offset?    No  Yes
 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $9,325.00
          Empowered Diagnostics, LLC                                          Contingent
          3341 WEST MCNAB ROAD                                                Unliquidated
          Pompano Beach, FL 33069                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0071
                                                                             Is the claim subject to offset?    No  Yes
 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $127.68
          Englewood/PHILIPS (2ENGPHI)                                         Contingent
          Box 689788                                                          Unliquidated
          Chicago, IL 60695-9755                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1284
                                                                             Is the claim subject to offset?    No  Yes
 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $14,651,185.42
          Federal Trade Commission                                            Contingent
          600 Pennsylvania Avenue, NW
          Washington, DC 20580
                                                                              Unliquidated
          Date(s) debt was incurred 1/31/2023
                                                                              Disputed
          Last 4 digits of account number 1RLW                               Basis for the claim:    Judgment in Lawsuit (See Sofa Question 7)
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 6 of 12
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy



               23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 31 of 74
 Debtor       American Screening, LLC                                                                 Case number (if known)
              Name

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $103,859.31
          FEDEX FRT                                                           Contingent
          Dept Ch Box 10306                                                   Unliquidated
          Palatine, IL 60055-0306                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1983
                                                                             Is the claim subject to offset?    No  Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,712.00
          FLATWORLD SOLUTIONS (3FLAWOR)                                       Contingent
          116 VILLAGE BLVD STE 200                                            Unliquidated
          Princeton, NJ 08540                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2778
                                                                             Is the claim subject to offset?    No  Yes
 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,159.74
          Global Trade & Customs (3GLOBCUS)                                   Contingent
          1 WORLD TRAD CENTER                                                 Unliquidated
          STE 160                                                             Disputed
          Long Beach, CA 90831
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       2945                         Is the claim subject to offset?    No  Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $36,187.50
          HiTech                                                              Contingent
          316 E. Georgia Ave                                                  Unliquidated
          Ruston, LA 71270                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0084
                                                                             Is the claim subject to offset?    No  Yes
 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,903.41
          Insource(2INSOUR)                                                   Contingent
          Henry Schein DEPT CH 10241                                          Unliquidated
          Palatine, IL 60055-0241                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1416
                                                                             Is the claim subject to offset?    No  Yes
 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,900.00
          Intertek Testing Services NA Inc (2INTSR                            Contingent
          PO Box 405176                                                       Unliquidated
          ATLANTA, GA 30384-5176                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3038
                                                                             Is the claim subject to offset?    No  Yes
 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,876.00
          INVERSE PARADOX                                                     Contingent
          3 Hulme Ave                                                         Unliquidated
          Johnson House                                                       Disputed
          Hulmeville, PA 19047
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       0046                         Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 7 of 12
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy



               23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 32 of 74
 Debtor       American Screening, LLC                                                                 Case number (if known)
              Name

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $29.75
          LABCORP (2LABCOR)                                                   Contingent
          P.O. BOX 12140                                                      Unliquidated
          BURLINGTON, NC 27216-2190                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1463
                                                                             Is the claim subject to offset?    No  Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $524.87
          LIFELOC TECHNOLOGIES(2LIFTEC)                                       Contingent
          12441 W. 49TH AVE UNIT 4                                            Unliquidated
          WHEAT RIDGE, CO 80033                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1480
                                                                             Is the claim subject to offset?    No  Yes
 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,275.00
          Linkedin (3LINKIN)                                                  Contingent
          2029 Stierlin Ct                                                    Unliquidated
          Mountain View, CA 94043                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1483
                                                                             Is the claim subject to offset?    No  Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Louisiana Dept of Justice
          c/o Cathryn Gits                                                    Contingent
          Public Protection Division                                          Unliquidated
          P.O. Box 94005                                                      Disputed
          Baton Rouge, LA 70804
                                                                             Basis for the claim:    See SOFA Question No. 7
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,027.77
          MEDLINE INDUSTRIES(2MEDIND)                                         Contingent
          One Medline Place                                                   Unliquidated
          Mundelein, IL 60060                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1521
                                                                             Is the claim subject to offset?    No  Yes
 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $183.34
          MEDPLUS                                                             Contingent
          Dept 169                                                            Unliquidated
          PO Box 37904                                                        Disputed
          Charlotte, NC 28237-7904
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       1522                         Is the claim subject to offset?    No  Yes
 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $56,825.41
          MICROGENICS CORP (2THEFIS)                                          Contingent
          Bank of America                                                     Unliquidated
          7055 Collections Center Dr                                          Disputed
          Chicago, IL 60693
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       1814                         Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 8 of 12
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy



               23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 33 of 74
 Debtor       American Screening, LLC                                                                 Case number (if known)
              Name

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,275.00
          NHD, LLC                                                            Contingent
          3005 SOUTH LAMAR BLVD                                               Unliquidated
          Austin, TX 78704                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0061
                                                                             Is the claim subject to offset?    No  Yes
 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,160.30
          Office Depot (3OFFDEP)                                              Contingent
          1708 E 70th St                                                      Unliquidated
          Shreveport, LA 71105                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1588
                                                                             Is the claim subject to offset?    No  Yes
 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,750.06
          ORASURE TECH(2ORATEC)                                               Contingent
          PO BOX 780518                                                       Unliquidated
          Philadelphia, PA 19178-0518                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1596
                                                                             Is the claim subject to offset?    No  Yes
 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $312.50
          PAYNE MECHANICAL SERVICES                                           Contingent
          7223 WEST BERT KOUNS                                                Unliquidated
          Shreveport, LA 71129                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2694
                                                                             Is the claim subject to offset?    No  Yes
 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $116.00
          PERFORMANCE PLUS GLOBAL LOGISTICS                                   Contingent
          -TUCKE                                                              Unliquidated
          942 HEMSATH RD                                                      Disputed
          Saint Charles, MO 63303
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       2805                         Is the claim subject to offset?    No  Yes
 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $146,973.80
          Phase Scientific                                                    Contingent
          10527 Garden Grove Boulevard                                        Unliquidated
          Garden Grove, CA 92843                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0069
                                                                             Is the claim subject to offset?    No  Yes
 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $225.00
          Quality Sheet Metal Inc                                             Contingent
          946 LInwood Ave                                                     Unliquidated
          Stonewall, LA 71078                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3016
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 9 of 12
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy



               23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 34 of 74
 Debtor       American Screening, LLC                                                                 Case number (if known)
              Name

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $220.32
          QUEST DIAGNOSTICS (2QUEDIA)                                         Contingent
          P.O. Box 740709                                                     Unliquidated
          Acct# 30003941                                                      Disputed
          ATLANTA, GA 30374-0709
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       1666                         Is the claim subject to offset?    No  Yes
 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,541.46
          RED RIVER SANITORS LLC                                              Contingent
          PO BOX 78329                                                        Unliquidated
          ATTN ACCOUNTS RECV                                                  Disputed
          Shreveport, LA 71137
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       2775                         Is the claim subject to offset?    No  Yes
 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $1,911,000.00
          RK Giving, LLC                                                      Contingent
          401 Ryland Street, Suite 200                                        Unliquidated
          Reno, NV 89502                                                      Disputed
          Date(s) debt was incurred December 31, 2021
                                                                             Basis for the claim:    Note
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $468,931.31
          Ron Kilgarlin, Jr.                                                  Contingent
          c/o Robert W. Raley                                                 Unliquidated
          290 Benton Spur                                                     Disputed
          Bossier City, LA 71111
                                                                             Basis for the claim:    Pay off of First Horizon (Iberia) Line of Credit
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,240.00
          Safe Health Systems (2safhea)                                       Contingent
          6161 N Scottsdale Road Suite 200                                    Unliquidated
          Scottsdale, AZ 85250                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0160
                                                                             Is the claim subject to offset?    No  Yes
 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,417.22
          Smith Amundsen LLC                                                  Contingent
          Attn: Accounts Receivable                                           Unliquidated
          150 N Michigan Ave, Ste 3300                                        Disputed
          Chicago, IL 60601
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       2240                         Is the claim subject to offset?    No  Yes
 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,100.00
          Society for Human Resource Management                               Contingent
          PO Box 79482                                                        Unliquidated
          Baltimore, MD 21279-0482                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1748
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 10 of 12
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy



               23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 35 of 74
 Debtor       American Screening, LLC                                                                 Case number (if known)
              Name

 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $28,068.16
          STAFFMARK INVESTMENT LLC                                            Contingent
          PO BOX 734575                                                       Unliquidated
          Chicago, IL 60673-4575                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3106
                                                                             Is the claim subject to offset?    No  Yes
 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $199.98
          ULINE SHIPPING (2ULINES)                                            Contingent
          2200 S. LAKESIDE DRIVE                                              Unliquidated
          WAUKEEGAN, IL 60085                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1842
                                                                             Is the claim subject to offset?    No  Yes
 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $44,650.59
          VERSEA Holdings, Inc.
          c/o Joshua P. Cittadino, Esq.                                       Contingent
          Sanvernero & Cittadino                                              Unliquidated
          228 Maple Ave                                                       Disputed
          Red Bank, NJ 07701
                                                                             Basis for the claim:    See SOFA Question No. 7
          Date(s) debt was incurred
          Last 4 digits of account number       0114                         Is the claim subject to offset?    No  Yes
 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $22,114.10
          W.H.P.M. (2WHPINC)                                                  Contingent
          5358 Irwindale Ave                                                  Unliquidated
          Irwindale, CA 91706                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1374
                                                                             Is the claim subject to offset?    No  Yes
 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $65.00
          WESTERN SLOPE LAB (2WESSLO)                                         Contingent
          1197 ROCHESTER RD STE K                                             Unliquidated
          TROY, MI 48083                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1890
                                                                             Is the claim subject to offset?    No  Yes
 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $32.00
          Willis Knghton Quick Care (3WILKNI)                                 Contingent
          PO Box 16435                                                        Unliquidated
          Loves Park, IL 61132-6435                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1901
                                                                             Is the claim subject to offset?    No  Yes
 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,391.89
          XPO LOGISTICS                                                       Contingent
          29559 Network Place                                                 Unliquidated
          Chicago, IL 60673-1559                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0085
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 11 of 12
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy



               23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 36 of 74
 Debtor       American Screening, LLC                                                                 Case number (if known)
              Name

 3.69      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $90.00
           ZRT Laboratory (2ZRTLAB)                                           Contingent
           8605 SW Creekside Pl                                               Unliquidated
           Beaverton, OR 97008                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number      1915
                                                                             Is the claim subject to offset?     No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                      related creditor (if any) listed?              account number, if
                                                                                                                                                     any
 4.1       Anne Collesano
           Federal Trade Commission                                                                   Line      3.33
           600 Pennsylvania Ave, NW
           Washington, DC 20580                                                                             Not listed. Explain


 4.2       Associate Director for Enforceme
           Bureau of Consumer Protection                                                              Line      3.33                                 FTC v. American
           Federal Trade Commission                                                                                                                  Screening, LLC
           600 Pennsylvania Ave NW                                                                          Not listed. Explain

           Washington, DC 20580

 4.3       Brady D. King, III
           McNew, King & Landry, LLP                                                                  Line      3.10
           2400 Forsythe Ave, Suite 2
           Monroe, LA 71201                                                                                 Not listed. Explain


 4.4       Dillon Lappe
           Federal Trade Commission                                                                   Line      3.33
           600 Pennsylvania Ave, NW
           Washington, DC 20580                                                                             Not listed. Explain


 4.5       Nicholas Cartier
           Federal Trade Commission                                                                   Line      3.33
           600 Pennsylvania Ave, NW
           Washington, DC 20580                                                                             Not listed. Explain


 4.6       Omolara Bewaji Joseney
           Federal Trade Commission                                                                   Line      3.33
           600 Pennsylvania Ave, NW
           Washington, DC 20580                                                                             Not listed. Explain



 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                           Total of claim amounts
 5a. Total claims from Part 1                                                                             5a.          $                         0.00
 5b. Total claims from Part 2                                                                             5b.    +     $                20,586,715.95

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                  5c.          $                   20,586,715.95




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 12 of 12
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy



               23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 37 of 74
 Fill in this information to identify the case:

 Debtor name         American Screening, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF LOUISIANA

 Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal            Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.1.         State what the contract or                  High Speed Internet
              lease is for and the nature of              Provider
              the debtor's interest

                  State the term remaining
                                                                                      AT&T High Speed Internet
              List the contract number of any                                         P.O. Box 5019
                    government contract                                               Carol Stream, IL 60197


 2.2.         State what the contract or                  Outbound auto-dialing
              lease is for and the nature of              program to contact
              the debtor's interest                       new and existing
                                                          customers.
                  State the term remaining
                                                                                      Call Tools, Inc.
              List the contract number of any                                         530 Technology Drive Ste 100
                    government contract                                               Irvine, CA 92618


 2.3.         State what the contract or                  Computer Network
              lease is for and the nature of              equipment, including
              the debtor's interest                       hardware, software,
                                                          and services provided
                                                          by HiTech Shrevport,
                                                          LLC.
                  State the term remaining                40 months                   CIT Bank
                                                                                      a Division of First-Citizens B&T
              List the contract number of any                                         10201 Centurion Pkwy N, Ste 100
                    government contract                                               32256


 2.4.         State what the contract or                  Cloud based Customer
              lease is for and the nature of              Relationship
              the debtor's interest                       Management (CRM)
                                                          program.
                  State the term remaining
                                                                                      Hubspot, Inc.
              List the contract number of any                                         25 First Street, 2nd Floor
                    government contract                                               Cambridge, MA 02141



Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 3
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy



                23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 38 of 74
 Debtor 1 American Screening, LLC                                                            Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.5.        State what the contract or                   Ecommerce website for
             lease is for and the nature of               www.americanscreenin
             the debtor's interest                        gcorp.com.

                  State the term remaining
                                                                                     Inverse Paradox
             List the contract number of any                                         3 Hulme Ave
                   government contract                                               Langhorne, PA 19047


 2.6.        State what the contract or                   Office Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Three Months
                                                                                     Kilgarlin Holdings, LLC
             List the contract number of any                                         9742 St. Vincent Ave, Ste 100
                   government contract                                               Shreveport, LA 71106


 2.7.        State what the contract or                   Warehouse Lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Kilgarlin Holdings, LLC
             List the contract number of any                                         9742 St. Vincent Ave, Ste 100
                   government contract                                               Shreveport, LA 71106


 2.8.        State what the contract or                   Could based enterprise
             lease is for and the nature of               resources (ERP)
             the debtor's interest                        planning software.

                  State the term remaining
                                                                                     Netsuite
             List the contract number of any                                         2300 Oracle Way
                   government contract                                               Austin, TX 78741


 2.9.        State what the contract or                   ERP and CRM systems.
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Sage Software, Inc.
             List the contract number of any                                         271 17th St NW
                   government contract                                               Atlanta, GA 30363


 2.10.       State what the contract or                   Desktop phones and
             lease is for and the nature of               web-based calling.
             the debtor's interest

                  State the term remaining                                           Zoom Phones
                                                                                     55 Almaden Blvd
             List the contract number of any                                         San Jose, CA 95113
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                    Page 2 of 3
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                 Best Case Bankruptcy



               23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 39 of 74
 Debtor 1 American Screening, LLC                                                            Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                    Page 3 of 3
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                 Best Case Bankruptcy



               23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 40 of 74
 Fill in this information to identify the case:

 Debtor name         American Screening, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF LOUISIANA

 Case number (if known)
                                                                                                                              Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                  Name                            Check all schedules
                                                                                                                                that apply:

    2.1      Kilgarlin                         9742 St. Vincent Ave. Ste 100                    First Horizon                   D        2.4
             Holdings, LLC                     Shreveport, LA 71106                             Commercial Lending               E/F
                                                                                                                                G



    2.2      Kilgarlin                         9742 St. Vincent Ave. Ste 100                    First Horizon                   D        2.3
             Holdings, LLC                     Shreveport, LA 71106                             Commercial Lending               E/F
                                                                                                                                G



    2.3      Ron Kilgarlin, Jr.                c/o Cary A. Hilburn                              Federal Trade                   D
                                               Hillburn & Hilburn, APLC                         Commission                       E/F        3.33
                                               220 Carroll Street Building B
                                                                                                                                G
                                               Shreveport, LA 71105




    2.4      Ron Kilgarlin, Jr.                c/o Robert W. Raley                              First Horizon                   D        2.4
                                               290 Benton Spur                                  Commercial Lending               E/F
                                               Bossier City, LA 71111
                                                                                                                                G




Official Form 206H                                                        Schedule H: Your Codebtors                                         Page 1 of 2
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy



               23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 41 of 74
 Debtor       American Screening, LLC                                                    Case number (if known)



            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.5      Ron Kilgarlin, Jr.                c/o Robert W. Raley                            First Horizon           D       2.3
                                               290 Benton Spur                                Commercial Lending       E/F
                                               Bossier City, LA 71111
                                                                                                                      G




    2.6      Ron Kilgarlin, Jr.                c/o Robert W. Raley                            RK Giving, LLC          D
                                               290 Benton Spur                                                         E/F       3.57
                                               Bossier City, LA 71111
                                                                                                                      G
                                               Pledge of ASC Membership Interest




    2.7      Ron Kilgarlin, Jr.                c/o Robert W. Raley                            VERSEA Holdings,        D
                                               290 Benton Spur                                Inc.                     E/F       3.64
                                               Bossier City, LA 71111
                                                                                                                      G




    2.8      Ron Kilgarlin, Jr.                c/o Robert W. Raley                            Louisiana Dept of       D
                                               290 Benton Spur                                Justice                  E/F       3.44
                                               Bossier City, LA 71111
                                                                                                                      G




    2.9      Shawn Kilgarlin                   c/o Cary A. Hilburn                            Federal Trade           D
                                               Hilburn & Hilburn, APLC                        Commission               E/F       3.33
                                               220 Carroll Street Building B
                                                                                                                      G
                                               Shreveport, LA 71105




    2.10     Shawn Kilgarlin                   c/o Robert W. Raley                            VERSEA Holdings,        D
                                               290 Benton Spur                                Inc.                     E/F       3.64
                                               Bossier City, LA 71111
                                                                                                                      G




Official Form 206H                                                        Schedule H: Your Codebtors                              Page 2 of 2
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                            Best Case Bankruptcy



               23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 42 of 74
 Fill in this information to identify the case:

 Debtor name         American Screening, LLC

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF LOUISIANA

 Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                       amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                     04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

       None.
       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                      Gross revenue
       which may be a calendar year                                                            Check all that apply                    (before deductions and
                                                                                                                                       exclusions)

       From the beginning of the fiscal year to filing date:                                    Operating a business                           $3,680,712.00
       From 1/01/2023 to Filing Date
                                                                                                Other


       For prior year:                                                                          Operating a business                         $34,003,514.19
       From 1/01/2022 to 12/31/2022
                                                                                                Other


       For year before that:                                                                    Operating a business                         $17,385,873.76
       From 1/01/2021 to 12/31/2021
                                                                                                Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

       None.
                                                                                               Description of sources of revenue       Gross revenue from
                                                                                                                                       each source
                                                                                                                                       (before deductions and
                                                                                                                                       exclusions)

       For year before that:
       From 1/01/2021 to 12/31/2021                                                            Debt forgiveness                                 $5,912,056.00


       For year before that:
       From 1/01/2021 to 12/31/2021                                                            Debt forgiveness                                   $311,074.00


 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 1
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy



               23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 43 of 74
 Debtor       American Screening, LLC                                                                   Case number (if known)




       None.
       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               UPS Freight (3UPSFRT)                                       12/19/2022                       $14,440.24          Secured debt
               PO BOX 577                                                                                                       Unsecured loan repayments
               Carol Stream, IL 60132                                                                                           Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.2.
               Hilburn & Hilburn (3HILHIL)                                 12/19/2022                       $16,364.91          Secured debt
               220 CARROLL ST BLD B                                                                                             Unsecured loan repayments
               SHREVEPORT, LA 71105                                                                                             Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.3.
               Quality Sheet Metal Inc                                     12/22/2022                       $12,366.00          Secured debt
               946 LInwood Ave                                                                                                  Unsecured loan repayments
               Stonewall, LA 71078                                                                                              Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.4.
               Cardone Ventures                                            12/22/2022                       $15,866.67          Secured debt
               4800 N Scottsdale Rd Ste 5500                                                                                    Unsecured loan repayments
               Scottsdale, AZ 85251                                                                                             Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.5.
               UPS Freight (3UPSFRT)                                       12/26/2022                       $18,689.17          Secured debt
               PO BOX 577                                                                                                       Unsecured loan repayments
               Carol Stream, IL 60132                                                                                           Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.6.
               Intertek Testing Services NA Inc                            12/28/2022                         $9,800.00         Secured debt
               (2INTSR                                                                                                          Unsecured loan repayments
               PO Box 405176                                                                                                    Suppliers or vendors
               Atlanta, GA 30384-5176
                                                                                                                                Services
                                                                                                                                Other

       3.7.
               W.H.P.M. (2WHPINC)                                          12/28/2022                       $19,393.75          Secured debt
               5358 Irwindale Ave                                                                                               Unsecured loan repayments
               Irwindale, CA 91706                                                                                              Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 2
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy



               23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 44 of 74
 Debtor       American Screening, LLC                                                                   Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.8.
               Caddo Parish Sheriff's Office Tax Dept                      12/29/2022                      $108,821.75          Secured debt
               (                                                                                                                Unsecured loan repayments
               PO Box 20905                                                                                                     Suppliers or vendors
               Shreveport, LA 71120                                                                                             Services
                                                                                                                                Other   Property Taxes

       3.9.
               W.H.P.M. (2WHPINC)                                          12/30/2022                       $19,815.06          Secured debt
               5358 Irwindale Ave                                                                                               Unsecured loan repayments
               Irwindale, CA 91706                                                                                              Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.10
       .    UPS Freight (3UPSFRT)                                          1/2/2023                           $6,901.41         Secured debt
               PO BOX 577                                                                                                       Unsecured loan repayments
               Carol Stream, IL 60132                                                                                           Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.11
       .    CIT.COM (First Citizens B&T)                                   1/3/2023                           $6,835.77         Secured debt
               10201 Centurion Parkway North, Suite                                                                             Unsecured loan repayments
               100                                                                                                              Suppliers or vendors
               Jacksonville, FL 32256                                                                                           Services
                                                                                                                                Other Equipment Lease
                                                                                                                               Payment

       3.12
       .    Azure Biotech Inc (1AZUBIO)                                    1/6/2023                        $100,000.00          Secured debt
               10400 Main Street                                                                                                Unsecured loan repayments
               Houston, TX 77025                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.13
       .    Cardone Ventures                                               1/9/2023                         $13,428.57          Secured debt
               4800 N Scottsdale Rd Ste 5500                                                                                    Unsecured loan repayments
               Scottsdale, AZ 85251                                                                                             Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.14
       .    Azure Biotech Inc (1AZUBIO)                                    1/12/2023                       $100,000.00          Secured debt
               10400 Main Street                                                                                                Unsecured loan repayments
               Houston, TX 77025                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.15
       .    BIOEASY                                                        1/12/2023                        $37,781.25          Secured debt
               1715 CORRIGAN                                                                                                    Unsecured loan repayments
               LA VERNE, CA 91750-5836                                                                                          Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 3
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy



               23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 45 of 74
 Debtor      American Screening, LLC                                                                    Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.16
       .    UPS Freight (3UPSFRT)                                          1/16/2023                          $7,893.05         Secured debt
               PO BOX 577                                                                                                       Unsecured loan repayments
               Carol Stream, IL 60132                                                                                           Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.17
       .    BioMed Resource(1BIORES)                                       1/17/2023                          $7,923.00         Secured debt
               6646 Doolittle Ave                                                                                               Unsecured loan repayments
               Riverside, CA 92503                                                                                              Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.18
       .    UPS Freight (3UPSFRT)                                          1/23/2023                        $15,064.96          Secured debt
               PO BOX 577                                                                                                       Unsecured loan repayments
               Carol Stream, IL 60132                                                                                           Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.19
       .    HiTech                                                         1/24/2023                        $14,963.31          Secured debt
               316 E. Georgia Ave                                                                                               Unsecured loan repayments
               Ruston, LA 71270                                                                                                 Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.20
       .    Croft Enterprises                                              1/25/2023                        $12,500.00          Secured debt
               Minneapolis, MN 55401                                                                                            Unsecured loan repayments
                                                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.21
       .    Azure Biotech Inc (1AZUBIO)                                    1/27/2023                       $100,000.00          Secured debt
               10400 Main Street                                                                                                Unsecured loan repayments
               Houston, TX 77025                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.22
       .    Hilburn & Hilburn (3HILHIL)                                    1/30/2023                        $28,704.92          Secured debt
               220 CARROLL ST BLD B                                                                                             Unsecured loan repayments
               SHREVEPORT, LA 71105                                                                                             Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.23
       .    UPS Freight (3UPSFRT)                                          1/30/2023                        $11,695.00          Secured debt
               PO BOX 577                                                                                                       Unsecured loan repayments
               Carol Stream, IL 60132                                                                                           Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 4
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy



               23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 46 of 74
 Debtor      American Screening, LLC                                                                    Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.24
       .    Azure Biotech Inc (1AZUBIO)                                    2/1/2023                        $100,000.00          Secured debt
               10400 Main Street                                                                                                Unsecured loan repayments
               Houston, TX 77025                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.25
       .    CIT.COM (First Citizens B&T)                                   2/1/2023                           $6,835.77         Secured debt
               10201 Centurion Parkway North, Suite                                                                             Unsecured loan repayments
               100                                                                                                              Suppliers or vendors
               Jacksonville, FL 32256                                                                                           Services
                                                                                                                                Other Equipment Lease
                                                                                                                               Payment

       3.26
       .    BIOEASY                                                        2/1/2023                         $10,530.00          Secured debt
               1715 CORRIGAN                                                                                                    Unsecured loan repayments
               LA VERNE, CA 91750-5836                                                                                          Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.27
       .    Alltest Biotech Co Ltd (3ALLBIO)                               2/3/2023                         $11,935.00          Secured debt
               550 Yinhai Street                                                                                                Unsecured loan repayments
               Hangzhou Eco & Tech Development                                                                                  Suppliers or vendors
               Area
               310018
                                                                                                                                Services
               Zhejang                                                                                                          Other

       3.28
       .    UPS Freight (3UPSFRT)                                          2/6/2023                         $10,380.55          Secured debt
               PO BOX 577                                                                                                       Unsecured loan repayments
               Carol Stream, IL 60132                                                                                           Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.29
       .    ACON LABS (2ACOLAB)                                            2/7/2023                         $10,000.00          Secured debt
               10125 MESA RIM ROAD                                                                                              Unsecured loan repayments
               SAN DIEGO, CA 92121                                                                                              Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.30
       .    Phase Scientific                                               2/7/2023                         $25,000.00          Secured debt
               10527 Garden Grove Boulevard                                                                                     Unsecured loan repayments
               Garden Grove, CA 92843                                                                                           Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.31
       .    DB Diagnostics (2DBDia)                                        2/7/2023                         $12,500.00          Secured debt
               1420 S Mint St. D, Charlotte, NC                                                                                 Unsecured loan repayments
               Charlotte, NC 28203                                                                                              Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 5
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy



               23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 47 of 74
 Debtor      American Screening, LLC                                                                    Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.32
       .    Cardone Ventures                                               2/9/2023                         $13,428.57          Secured debt
               4800 N Scottsdale Rd Ste 5500                                                                                    Unsecured loan repayments
               Scottsdale, AZ 85251                                                                                             Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.33
       .    Azure Biotech Inc (1AZUBIO)                                    2/10/2023                       $100,000.00          Secured debt
               10400 Main Street                                                                                                Unsecured loan repayments
               Houston, TX 77025                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.34
       .    UPS Freight (3UPSFRT)                                          2/13/2023                          $8,023.51         Secured debt
               PO BOX 577                                                                                                       Unsecured loan repayments
               Carol Stream, IL 60132                                                                                           Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.35
       .    American Association of Clinical                               2/13/2023                          $9,930.00         Secured debt
               Chemist                                                                                                          Unsecured loan repayments
               P.O. Box 6003                                                                                                    Suppliers or vendors
               Mc Lean, VA 22106                                                                                                Services
                                                                                                                                Other   Trade Show Fees

       3.36
       .    CITY OF SHREVEPORT/Revenue                                     2/14/2023                        $29,603.36          Secured debt
               (3COSREV)                                                                                                        Unsecured loan repayments
               PO BOX 30168                                                                                                     Suppliers or vendors
               Shreveport, LA 71130-0168                                                                                        Services
                                                                                                                                Other   Property Taxes

       3.37
       .    BioMed Resource(1BIORES)                                       2/20/2023                          $7,355.00         Secured debt
               6646 Doolittle Ave                                                                                               Unsecured loan repayments
               Riverside, CA 92503                                                                                              Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.38
       .    UPS Freight (3UPSFRT)                                          2/20/2023                          $9,980.30         Secured debt
               PO BOX 577                                                                                                       Unsecured loan repayments
               Carol Stream, IL 60132                                                                                           Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.39
       .    DB Diagnostics (2DBDia)                                        2/21/2023                        $11,125.00          Secured debt
               1420 S Mint St. D, Charlotte, NC                                                                                 Unsecured loan repayments
               Charlotte, NC 28203                                                                                              Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 6
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy



               23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 48 of 74
 Debtor      American Screening, LLC                                                                    Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.40
       .    Hilburn & Hilburn (3HILHIL)                                    2/23/2023                        $25,463.09          Secured debt
               220 CARROLL ST BLD B                                                                                             Unsecured loan repayments
               SHREVEPORT, LA 71105                                                                                             Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.41
       .    Silver Spoon Agency Inc                                        2/24/2023                        $15,228.73          Secured debt
               400 Rella Blvd                                                                                                   Unsecured loan repayments
               Suite 165                                                                                                        Suppliers or vendors
               Suffern, NY 10901
                                                                                                                                Services
                                                                                                                                Other

       3.42
       .    BioMed Resource(1BIORES)                                       2/27/2023                        $20,500.00          Secured debt
               6646 Doolittle Ave                                                                                               Unsecured loan repayments
               Riverside, CA 92503                                                                                              Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.43
       .    UPS Freight (3UPSFRT)                                          2/27/2023                        $13,707.96          Secured debt
               PO BOX 577                                                                                                       Unsecured loan repayments
               Carol Stream, IL 60132                                                                                           Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.44
       .    CITY OF SHREVEPORT/Revenue                                     2/28/2023                          $7,230.00         Secured debt
               (3COSREV)                                                                                                        Unsecured loan repayments
               PO BOX 30168                                                                                                     Suppliers or vendors
               Shreveport, LA 71130-0168                                                                                        Services
                                                                                                                                Other   Property Taxes

       3.45
       .    CIT.COM (First Citizens B&T)                                   3/1/2023                           $6,835.77         Secured debt
               10201 Centurion Parkway North, Suite                                                                             Unsecured loan repayments
               100                                                                                                              Suppliers or vendors
               Jacksonville, FL 32256                                                                                           Services
                                                                                                                                Other Equipment Lease
                                                                                                                               Payment

       3.46
       .    UPS Freight (3UPSFRT)                                          3/6/2023                           $7,416.53         Secured debt
               PO BOX 577                                                                                                       Unsecured loan repayments
               Carol Stream, IL 60132                                                                                           Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.47
       .    Azure Biotech Inc (1AZUBIO)                                    3/7/2023                        $100,000.00          Secured debt
               10400 Main Street                                                                                                Unsecured loan repayments
               Houston, TX 77025                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 7
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy



               23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 49 of 74
 Debtor      American Screening, LLC                                                                    Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.48
       .    Chase Bank                                                     3/8/2023                         $25,528.70          Secured debt
               c/o Cardmember Service                                                                                           Unsecured loan repayments
               P.O. Box 15123                                                                                                   Suppliers or vendors
               Wilmington, DE 19850-5123                                                                                        Services
                                                                                                                                Other   Credit Card Payment

       3.49
       .    Boxes for Less (2BOXLES)                                       3/9/2023                         $10,589.40          Secured debt
               P.O. Box 11020                                                                                                   Unsecured loan repayments
               Fort Smith, AR 72917                                                                                             Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.50
       .    W.H.P.M. (2WHPINC)                                             3/9/2023                         $28,407.50          Secured debt
               5358 Irwindale Ave                                                                                               Unsecured loan repayments
               Irwindale, CA 91706                                                                                              Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.51
       .    Cardone Ventures                                               3/9/2023                         $15,866.67          Secured debt
               4800 N Scottsdale Rd Ste 5500                                                                                    Unsecured loan repayments
               Scottsdale, AZ 85251                                                                                             Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.52
       .    Azure Biotech Inc (1AZUBIO)                                    3/10/2023                       $200,000.00          Secured debt
               10400 Main Street                                                                                                Unsecured loan repayments
               Houston, TX 77025                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.53
       .    Wondfo USA (2WONDFO)                                           3/10/2023                        $11,388.12          Secured debt
               545 Willowbrook Centre Pkwy -                                                                                    Unsecured loan repayments
               Willowbrook, IL 60527                                                                                            Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.54
       .    W.H.P.M. (2WHPINC)                                             3/10/2023                        $10,601.75          Secured debt
               5358 Irwindale Ave                                                                                               Unsecured loan repayments
               Irwindale, CA 91706                                                                                              Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.55
       .    Hilburn & Hilburn (3HILHIL)                                    3/11/2023                        $49,999.99          Secured debt
               220 CARROLL ST BLD B                                                                                             Unsecured loan repayments
               SHREVEPORT, LA 71105                                                                                             Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 8
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy



               23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 50 of 74
 Debtor      American Screening, LLC                                                                    Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.56
       .    UPS Freight (3UPSFRT)                                          3/13/2023                          $8,770.58         Secured debt
               PO BOX 577                                                                                                       Unsecured loan repayments
               Carol Stream, IL 60132                                                                                           Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.57
       .    Kilgarlin Holdings, LLC                                        1/14/2023                        $42,174.18          Secured debt
               9742 Saint Vincent Ave, Suite 100                                                                                Unsecured loan repayments
               SHREVEPORT, LA 71106                                                                                             Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.58
       .    Kilgarlin Holdings, LLC                                        2/14/2023                        $42,174.18          Secured debt
               9742 Saint Vincent Ave, Suite 100                                                                                Unsecured loan repayments
               SHREVEPORT, LA 71106                                                                                             Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.59
       .    Kilgarlin Holdings, LLC                                        3/14/2023                        $42,174.18          Secured debt
               9742 Saint Vincent Ave, Suite 100                                                                                Unsecured loan repayments
               SHREVEPORT, LA 71106                                                                                             Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.60
       .    First Horizons Bank                                            1/14/2023                        $28,749.58          Secured debt
               320 Texas St                                                                                                     Unsecured loan repayments
               SHREVEPORT, LA 71101
                                                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.61
       .    First Horizons Bank                                            2/14/2023                        $28,749.58          Secured debt
               320 Texas St                                                                                                     Unsecured loan repayments
               SHREVEPORT, LA 71101
                                                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.62
       .    First Horizons Bank                                            3/14/2023                        $28,749.58          Secured debt
               320 Texas St                                                                                                     Unsecured loan repayments
               SHREVEPORT, LA 71101
                                                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.63
       .    Alltests North America                                         3/15/2023                        $10,067.52          Secured debt
               15A Melanie Lane Unit 6                                                                                          Unsecured loan repayments
               East Hanover, NJ 7936                                                                                            Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 9
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy



               23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 51 of 74
 Debtor      American Screening, LLC                                                                    Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.64
       .    W.H.P.M. (2WHPINC)                                             3/15/2023                          $7,417.00           Secured debt
               5358 Irwindale Ave                                                                                                 Unsecured loan repayments
               Irwindale, CA 91706                                                                                                Suppliers or vendors
                                                                                                                                  Services
                                                                                                                                  Other

       3.65
       .    Wondfo USA (2WONDFO)                                           3/16/2023                          $7,534.45           Secured debt
               545 Willowbrook Centre Pkwy -                                                                                      Unsecured loan repayments
               Willowbrook, IL 60527                                                                                              Suppliers or vendors
                                                                                                                                  Services
                                                                                                                                  Other


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

       None.
       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1. See Question No. 30




5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

       None
       Creditor's name and address                               Describe of the Property                                      Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

       None
       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

       None.
               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 10
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy



               23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 52 of 74
 Debtor       American Screening, LLC                                                                   Case number (if known)



               Case title                                        Nature of case            Court or agency's name and            Status of case
               Case number                                                                 address
       7.1.    Federal Trade Commission v.                       FTC Claims                US DC for the M.D. Mo (St.                 Pending
               American Screening, LLC et                                                  Louis Div)                                 On appeal
               al.                                                                         Thomas F. Eagleton US
                                                                                                                                      Concluded
               4:20-CV-1021-RLW                                                            Courthouse
                                                                                           111 S 10th St #3.300
                                                                                           Saint Louis, MO 63102

       7.2.    AOSS v. American Screening,                       Business Dispute          Fourth Judicial District                   Pending
               LLC                                                                         Court                                      On appeal
               C-10201336                                                                  300 St. John Street
                                                                                                                                      Concluded
                                                                                           Monroe, LA 71201

       7.3.    American Screening, LLC v.                        Business Dispute          First Judicial District Court              Pending
               KKB Partners, LLC,                                                          501 Texas Street, Room 103                 On appeal
               Krazyhouse, LLC, Petal                                                      Shreveport, LA 71101
                                                                                                                                      Concluded
               Trading Company, Inc.,
               Fernando Campos, Michael R.
               Lauter and Peter S. Spenser
               629,144-C

       7.4.    EEOC v. American Screening,                       Employment                United States District Court               Pending
               LLC                                               Discrimination            300 Fannin Street, Suite                   On appeal
               2:21-cv-01978                                                               1167
                                                                                                                                      Concluded
                                                                                           Shreveport, LA 71101

       7.5.    VERSEA v. American                                Collection Action         Thirteenth Judicial District               Pending
               Screening, LLC, Shawn                                                       Court                                      On appeal
               Kilgarlin, Ron Kilgarlin, Jr.                                               800 E Twiggs St., Room 101
                                                                                                                                      Concluded
               22-CA-004902                                                                Tampa, FL 33602

       7.6.    State of Louisiana v.                             Business Dispute          First Judicial District Court              Pending
               American Screening, LLC and                                                 504 Texas Street, Room 103                 On appeal
               Ron Kilgarlin, Jr.                                                          Shreveport, LA 71101
                                                                                                                                      Concluded
               623,973-B

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

       None

 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

       None
               Recipient's name and address                      Description of the gifts or contributions               Dates given                          Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

       None



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 11
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy



               23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 53 of 74
 Debtor        American Screening, LLC                                                                      Case number (if known)



       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss   Value of property
       how the loss occurred                                                                                                                             lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

       None.
                Who was paid or who received                         If not money, describe any property transferred           Dates         Total amount or
                the transfer?                                                                                                                         value
                Address
       11.1.    Kell C. Mercer, PC                                                                                             3/9/2023 -
                901 S Mopac Expy Bldg 1 Ste                                                                                    $25,738.00
                300                                                                                                            4/6/2023 -
                Austin, TX 78746                                     Money Transferred                                         $4,000            $29,738.00

                Email or website address
                www.mercer-law-pc.com

                Who made the payment, if not debtor?
                Debtor



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

       None.
       Name of trust or device                                       Describe any property transferred                   Dates transfers     Total amount or
                                                                                                                         were made                    value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

       None.
               Who received transfer?                            Description of property transferred or                     Date transfer    Total amount or
               Address                                           payments received or debts paid in exchange                was made                  value
       13.1
       .

               Relationship to debtor




 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


       Does not apply

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 12
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                            Best Case Bankruptcy



                23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 54 of 74
 Debtor      American Screening, LLC                                                                    Case number (if known)



                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services          If debtor provides meals
                                                                 the debtor provides                                                   and housing, number of
                                                                                                                                       patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?

                     No Go to Part 10.
                     Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    American Screening Corporation 401(k) Safe Harbor Plan                                     EIN: XX-XXXXXXX
                    (Closed - Balances distributed in 2021)

                    Has the plan been terminated?
                     No
                     Yes

 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

       None
                Financial Institution name and                   Last 4 digits of         Type of account or          Date account was              Last balance
                Address                                          account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 13
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy



               23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 55 of 74
 Debtor      American Screening, LLC                                                                    Case number (if known)




       None
       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


       None
       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
       Cubby Hole LA 1, LTD                                          Shawn Kilgarlin                      Old files and personal items          No
       1102 E. Bert Kouns Industrial Loop                                                                                                       Yes
       Shreveport, LA 71105



 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                   Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known      Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 14
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy



               23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 56 of 74
 Debtor      American Screening, LLC                                                                    Case number (if known)



       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

       None
    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.                                                     Real Estate Property Lease and                   EIN:
             Kilgarlin Holdings, LLC                                                                                        XX-XXXXXXX
             9742 Saint Vincent Ave, Suite                    Management
             100                                                                                               From-To      6/24/2003-Present
             Shreveport, LA 71106

    25.2.                                                     Confirmation Lab Testing                         EIN:
             BioStat Laboratories, LLC                                                                                      XX-XXXXXXX
             9742 Saint Vincent Ave, Suite
             100                                                                                               From-To      2/1/2016-2018
             Shreveport, LA 71106

    25.3.                                                     Background Checks                                EIN:
             Reveal Background Check,                                                                                       XX-XXXXXXX
             LLC
             9742 Saint Vincent Ave, Suite                                                                     From-To      1/24/2020-Present
             100
             Shreveport, LA 71106

    25.4.                                                     Vape Product Distribution and                    EIN:
             V APE LLC                                                                                                      XX-XXXXXXX
             651 N. Broad St., Suite 201                      Website
             Middletown, DE 19709                                                                              From-To      8/2022 - Present

    25.5.                                                     Auto Accessories Website                         EIN:
             AUTOSHOPNOW.COM, LLC                                                                                           XX-XXXXXXX
             651 N. Broad St., Suite 201
             Middletown, DE 19709                                                                              From-To      9/2022 - Present


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Brad Herriage                                                                                                              1/26/2018 to present
                    9742 Saint Vincent Ave, Ste 100
                    Shreveport, LA 71106
       26a.2.       Debra Sempter                                                                                                              4/11/2022 to present
                    9742 Saint Vincent Ave, Ste 100
                    Shreveport, LA 71106
       26a.3.       Croft & Frost LLC                                                                                                          1/25/2022 to present
                    1413 Chestnut Street, Ste 401
                    Chattanooga, TN 37402

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 15
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy



                23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 57 of 74
 Debtor      American Screening, LLC                                                                    Case number (if known)



           None
       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26b.1.       Croft & Frost LLC                                                                                                    1/25/2022 to present
                    1413 Chestnut Street, Ste 401
                    Chattanooga, TN 37402

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Brad Herriage
                    9742 Saint Vincent Ave, Ste 100
                    Shreveport, LA 71106
       26c.2.       Debra Sempter
                    9742 Saint Vincent Ave, Ste 100
                    Shreveport, LA 71106
       26c.3.       Croft & Frost LLC
                    1413 Chestnut Street, Ste 401
                    Chattanooga, TN 37402
       26c.4.       Ron Kilgarlin, Jr.
                    c/o Robert W. Raley
                    290 Benton Spur
                    Bossier City, LA 71111
       26c.5.       Shawn Kilgarlin
                    c/o Robert W. Raley
                    290 Benton Spur
                    Bossier City, LA 71111

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
       Name and address
       26d.1.       First Horizon Commercial Lending
                    320 Texas Street
                    Shreveport, LA 71101

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

       No
           Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                          Date of inventory       The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory
       27.1 John Kunter, Warehouse Manager
       .                                                                                     Monthly                 None Calculated

                Name and address of the person who has possession of
                inventory records
                Amercan Screening, LLC
                9742 Saint Vincent Ave., Suite 100
                Shreveport, LA 71106


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 16
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy



                23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 58 of 74
 Debtor      American Screening, LLC                                                                    Case number (if known)




28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Ron Kilgarlin, Jr.                             9742 St. Vincent Ave. Ste 100                       Mananging Member                      100%
                                                      Shreveport, LA 71106

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Shawn Kilgarlin                                9742 St. Vincent Ave. Ste 100
                                                      Shreveport, LA 71106



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


       No
           Yes. Identify below.

       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Former Officer



30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

       No
           Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.1 Ron Kilgarlin, Jr.
       .    c/o Robert W. Raley
               290 Benton Spur                                                                                           1/1/2022 to
               Bossier City, LA 71111                            Annual Salary - $100,000                                Petition Date     Compensation.

               Relationship to debtor
               Managing Member


       30.2 Ron Kilgarlin, Jr.
       .    c/o Robert W. Raley
               290 Benton Spur                                   Owners' Draw and income tax payments -                  1/1/2022 to       Ownership
               Bossier City, LA 71111                            $1,469,244.36                                           Petition Date     Interest

               Relationship to debtor
               Managing Member


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
       Yes. Identify below.
    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 17
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy



               23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 59 of 74
 Debtor      American Screening, LLC                                                                    Case number (if known)



32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation
    American Screening Corporation 401(k) Safe Harbor Plan                                                     EIN:        XX-XXXXXXX

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         April 7, 2023

 /s/ Ronald Kilgarlin, Jr.                                              Ronald Kilgarlin, Jr.
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Managing Member

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 18
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy



               23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 60 of 74
                                                               United States Bankruptcy Court
                                                                     Western District of Louisiana
 In re      American Screening, LLC                                                                                   Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                          LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Ron Kilgarlin, Jr.                                                  Membership       100%                                       Membership
 c/o Robert W. Raley                                                 Interest
 290 Benton Spur
 Bossier City, LA 71111


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Managing Member of the corporation named as the debtor in this case, declare under penalty of perjury that I
have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
belief.



 Date April 7, 2023                                                          Signature /s/ Ronald Kilgarlin, Jr.
                                                                                            Ronald Kilgarlin, Jr.

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy




               23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 61 of 74
x
a
M
s
A
o
t
i
d
e
r
C
{
1
k
b
}




                       Abbott Toxicology(2ALETOX)
                       PO BOX 734598
                       Chicago, IL 60673-4598



                       ACON LABS (2ACOLAB)
                       10125 MESA RIM ROAD
                       SAN DIEGO, CA 92121



                       ADVANCED COMPUTER(3ADVCOM)
                       1333 College Pkwy #111
                       Gulf Breeze, FL 32563



                       AFS Logistics (3AFSOL)
                       PO Box 18170
                       Shreveport, LA 71138



                       AI Holdings Group, Inc
                       245 N Highland Ave NE STE 230-186
                       ATLANTA, GA 30307



                       ALG HEALTH
                       520 WEST MULBERRY STREET
                       Bryan, OH 43506



                       Alltests North America
                       15A Melanie Lane Unit 6
                       East Hanover, NJ 07936



                       Ally Financial
                       P.O. Box 380902
                       Minneapolis, MN 55438-0902



                       Altus Receivables Management (3ALTGLO)
                       2121 Airline Drive
                       Suite 520
                       Metairie, LA 70001




    23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 62 of 74
                   American Express
                   PO Box 6031
                   Carol Stream, IL 60197-6031



                   Anne Collesano
                   Federal Trade Commission
                   600 Pennsylvania Ave, NW
                   Washington, DC 20580



                   AOSS Medical Supply, LLC
                   4971 Central Avenue
                   Monroe, LA 71203



                   APPTOLOGY
                   2135 Top Court
                   Folsom, CA 95630



                   ArcBest (2ARCBST)
                   PO BOX 19087
                   Shreveport, LA 71149



                   Associate Director for Enforceme
                   Bureau of Consumer Protection
                   Federal Trade Commission
                   600 Pennsylvania Ave NW
                   Washington, DC 20580



                   AT&T High Speed Internet
                   P.O. Box 5019
                   Carol Stream, IL 60197



                   ATT WIRELESS (3ATTWIR)
                   PO Box 6463
                   CAROL STREAM, IL 60197-6463



                   Azure Biotech Inc (1AZUBIO)
                   Azure Biotech Inc.
                   10400 Main Street
                   Houston, TX 77025


23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 63 of 74
                   Binxhealth (2Binhea)
                   77 N Washington St f5,
                   Boston, MA 02114



                   BioMed Resource(1BIORES)
                   6646 Doolittle Ave
                   Riverside, CA 92503



                   Boxes for Less (2BOXLES)
                   P.O. Box 11020
                   Fort Smith, AR 72917



                   Brady D. King, III
                   McNew, King & Landry, LLP
                   2400 Forsythe Ave, Suite 2
                   Monroe, LA 71201



                   BSI GROUP AMERICA (3BSIGRO)
                   DEPT CH 19307
                   Palatine, IL 60055



                   Caddo Parish Louisiana
                   505 Travis Street, Suite 800
                   Shreveport, LA 71101



                   Call Tools, Inc.
                   530 Technology Drive Ste 100
                   Irvine, CA 92618



                   CFO ProSolutions
                   405 Ashley Ridge Blvd.
                   Shreveport, LA 71106



                   Chair 6 Data (3CHAIR6)
                   PO Box 65237
                   Shreveport, LA 71136




23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 64 of 74
                   Chase Bank
                   PO Box 94014
                   Palatine, IL 60094



                   Chase Bank
                   c/o Cardmember Service
                   P.O. Box 15123
                   Wilmington, DE 19850-5123



                   CIT Bank
                   a Division of First-Citizens B&T
                   10201 Centurion Pkwy N, Ste 100
                   32256



                   Clarity Diagnostics (2ClaDia)
                   1060 Holland Drive
                   Boca Raton, FL 33487



                   COOK, YANCEY, KING & GALLOWAY (3COOGAL)
                   333 TEXAS ST
                   STE 1700
                   Shreveport, LA 71120



                   CRIMINAL RESEARCH & INVESTIGATION
                   15614 Dr MLK Jr Blvd
                   Dover, FL 33527



                   CTS GLOBAL SUPPLY CHAIN
                   6920 BRASADA DR STE 200
                   Houston, TX 77085



                   DeRosa Mangold (3DERMAN)
                   200 W Hwy 6, Ste 310
                   Waco, TX 76712



                   Dillon Lappe
                   Federal Trade Commission
                   600 Pennsylvania Ave, NW
                   Washington, DC 20580


23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 65 of 74
                   EC REP Healthcare Educ. (3ECREPH)
                   The Church Portland Street
                   Southport, UK PR8 1HU



                   EEOC
                   c/o Elizabeth J. Owen
                   New Orleans Field Office
                   500 Poydras Street, Suite 809
                   New Orleans, LA 70130



                   EFFECTIVE SOLUTIONS
                   13160 W BURLEIGH ROAD
                   Brookfield, WI 53005



                   Empowered Diagnostics, LLC
                   3341 WEST MCNAB ROAD
                   Pompano Beach, FL 33069



                   Englewood/PHILIPS (2ENGPHI)
                   Box 689788
                   Chicago, IL 60695-9755



                   Federal Trade Commission
                   600 Pennsylvania Avenue, NW
                   Washington, DC 20580



                   FEDEX FRT
                   Dept Ch Box 10306
                   Palatine, IL 60055-0306



                   First Horizon Commercial Lending
                   320 Texas Street
                   Shreveport, LA 71101



                   FLATWORLD SOLUTIONS (3FLAWOR)
                   116 VILLAGE BLVD STE 200
                   Princeton, NJ 08540




23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 66 of 74
                   Global Trade & Customs (3GLOBCUS)
                   1 WORLD TRAD CENTER
                   STE 160
                   Long Beach, CA 90831



                   HiTech
                   316 E. Georgia Ave
                   Ruston, LA 71270



                   Hubspot, Inc.
                   25 First Street, 2nd Floor
                   Cambridge, MA 02141



                   Insource(2INSOUR)
                   Henry Schein DEPT CH 10241
                   Palatine, IL 60055-0241



                   Internal Revenue Service
                   P.O. Box 7346
                   Philadelphia, PA 19101-7346



                   Intertek Testing Services NA Inc (2INTSR
                   PO Box 405176
                   ATLANTA, GA 30384-5176



                   INVERSE PARADOX
                   3 Hulme Ave
                   Johnson House
                   Hulmeville, PA 19047



                   Inverse Paradox
                   3 Hulme Ave
                   Langhorne, PA 19047



                   Kilgarlin Holdings, LLC
                   9742 St. Vincent Ave, Ste 100
                   Shreveport, LA 71106




23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 67 of 74
                   Kilgarlin Holdings, LLC
                   9742 St. Vincent Ave. Ste 100
                   Shreveport, LA 71106



                   LABCORP (2LABCOR)
                   P.O. BOX 12140
                   BURLINGTON, NC 27216-2190



                   LIFELOC TECHNOLOGIES(2LIFTEC)
                   12441 W. 49TH AVE UNIT 4
                   WHEAT RIDGE, CO 80033



                   Linkedin (3LINKIN)
                   2029 Stierlin Ct
                   Mountain View, CA 94043



                   Louisiana Dep't of Revenue
                   617 N 3d Street
                   Baton Rouge, LA 70802



                   Louisiana Dept of Justice
                   c/o Cathryn Gits
                   Public Protection Division
                   P.O. Box 94005
                   Baton Rouge, LA 70804



                   MEDLINE INDUSTRIES(2MEDIND)
                   One Medline Place
                   Mundelein, IL 60060



                   MEDPLUS
                   Dept 169
                   PO Box 37904
                   Charlotte, NC 28237-7904



                   MICROGENICS CORP (2THEFIS)
                   Bank of America
                   7055 Collections Center Dr
                   Chicago, IL 60693


23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 68 of 74
                   Netsuite
                   2300 Oracle Way
                   Austin, TX 78741



                   NHD, LLC
                   3005 SOUTH LAMAR BLVD
                   Austin, TX 78704



                   Nicholas Cartier
                   Federal Trade Commission
                   600 Pennsylvania Ave, NW
                   Washington, DC 20580



                   Office Depot (3OFFDEP)
                   1708 E 70th St
                   Shreveport, LA 71105



                   Omolara Bewaji Joseney
                   Federal Trade Commission
                   600 Pennsylvania Ave, NW
                   Washington, DC 20580



                   ORASURE TECH(2ORATEC)
                   PO BOX 780518
                   Philadelphia, PA 19178-0518



                   PAYNE MECHANICAL SERVICES
                   7223 WEST BERT KOUNS
                   Shreveport, LA 71129



                   PERFORMANCE PLUS GLOBAL LOGISTICS -TUCKE
                   942 HEMSATH RD
                   Saint Charles, MO 63303



                   Phase Scientific
                   10527 Garden Grove Boulevard
                   Garden Grove, CA 92843




23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 69 of 74
                   Quality Sheet Metal Inc
                   946 LInwood Ave
                   Stonewall, LA 71078



                   QUEST DIAGNOSTICS (2QUEDIA)
                   P.O. Box 740709
                   Acct# 30003941
                   ATLANTA, GA 30374-0709



                   RED RIVER SANITORS LLC
                   PO BOX 78329
                   ATTN ACCOUNTS RECV
                   Shreveport, LA 71137



                   RK Giving, LLC
                   401 Ryland Street, Suite 200
                   Reno, NV 89502



                   Ron Kilgarlin, Jr.
                   c/o Robert W. Raley
                   290 Benton Spur
                   Bossier City, LA 71111



                   Ron Kilgarlin, Jr.
                   c/o Cary A. Hilburn
                   Hillburn & Hilburn, APLC
                   220 Carroll Street Building B
                   Shreveport, LA 71105



                   Safe Health Systems (2safhea)
                   6161 N Scottsdale Road Suite 200
                   Scottsdale, AZ 85250



                   Sage Software, Inc.
                   271 17th St NW
                   Atlanta, GA 30363




23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 70 of 74
                   Shawn Kilgarlin
                   c/o Cary A. Hilburn
                   Hilburn & Hilburn, APLC
                   220 Carroll Street Building B
                   Shreveport, LA 71105



                   Shawn Kilgarlin
                   c/o Robert W. Raley
                   290 Benton Spur
                   Bossier City, LA 71111



                   Smith Amundsen LLC
                   Attn: Accounts Receivable
                   150 N Michigan Ave, Ste 3300
                   Chicago, IL 60601



                   Society for Human Resource Management
                   PO Box 79482
                   Baltimore, MD 21279-0482



                   STAFFMARK INVESTMENT LLC
                   PO BOX 734575
                   Chicago, IL 60673-4575



                   ULINE SHIPPING (2ULINES)
                   2200 S. LAKESIDE DRIVE
                   WAUKEEGAN, IL 60085



                   US Small Business Administration
                   409 3rd Street SW
                   Washington, DC 20416



                   VERSEA Holdings, Inc.
                   c/o Joshua P. Cittadino, Esq.
                   Sanvernero & Cittadino
                   228 Maple Ave
                   Red Bank, NJ 07701




23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 71 of 74
                   W.H.P.M. (2WHPINC)
                   5358 Irwindale Ave
                   Irwindale, CA 91706



                   WESTERN SLOPE LAB (2WESSLO)
                   1197 ROCHESTER RD STE K
                   TROY, MI 48083



                   Willis Knghton Quick Care (3WILKNI)
                   PO Box 16435
                   Loves Park, IL 61132-6435



                   XPO LOGISTICS
                   29559 Network Place
                   Chicago, IL 60673-1559



                   Zoom Phones
                   55 Almaden Blvd
                   San Jose, CA 95113



                   ZRT Laboratory (2ZRTLAB)
                   8605 SW Creekside Pl
                   Beaverton, OR 97008




23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 72 of 74
                                                               United States Bankruptcy Court
                                                                     Western District of Louisiana
 In re      American Screening, LLC                                                                       Case No.
                                                                                   Debtor(s)              Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Managing Member of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




 Date:       April 7, 2023                                              /s/ Ronald Kilgarlin, Jr.
                                                                        Ronald Kilgarlin, Jr./Managing Member
                                                                        Signer/Title




Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                        Best Case Bankruptcy



               23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 73 of 74
                                                               United States Bankruptcy Court
                                                                     Western District of Louisiana
 In re      American Screening, LLC                                                                     Case No.
                                                                                   Debtor(s)            Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for American Screening, LLC in the above captioned action, certifies that the following
is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of
any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



 None [Check if applicable]




 April 7, 2023                                                        /s/ Kell C. Mercer
 Date                                                                 Kell C. Mercer
                                                                      Signature of Attorney or Litigant
                                                                      Counsel for American Screening, LLC
                                                                      Kell C. Mercer, P.C.
                                                                      901 S Mopac Expy Bldg 1 Ste 300
                                                                      Austin, TX 78746
                                                                      (512) 627-3512
                                                                      kell.mercer@mercer-law-pc.com




Software Copyright (c) 1996-2022 Best Case, LLC - www.bestcase.com                                                      Best Case Bankruptcy



               23-10350 - #1 File 04/07/23 Enter 04/07/23 06:30:49 Main Document Pg 74 of 74
